SNAP Application and Call Center
Metrics                                                                         May‐24                Jun‐24               Jul‐24           Aug‐24             Sep‐24           Oct‐24            Nov‐24             Dec‐24             Jan‐25
           SNAP Application Rejections*
SNAP Applications Rejected for Failure to
Complete the Interview (can include other
rejection reasons)*
                                            Count                               11,405                8,980              12,572              9,437            12,140           11,364              8,508            14,083             12,094
                    % of all applications rejected                              51.12%               48.09%              50.07%             43.39%            50.91%           46.78%             46.42%            51.79%             51.32%
SNAP Applications rejected ONLY for Failure to
Complete the Interview
                                            Count                                9,875                7,688              10,902              8,050            10,648            9,715              7,292            12,317             10,341
                    % of all applications rejected                              44.26%               41.17%              43.42%             37.02%            44.65%           39.99%             39.78%            45.29%             43.88%
                  Tier 1 Metrics
Average Wait Time (h:mm:ss)                                                   1:19:16             1:15:07              0:32:05     0:38:51     0:42:15     0:40:17     0:43:14     0:44:49     0:58:18
 Lowest Daily Avg Wait Time                                                   1:00:30             0:50:47              0:20:18     0:02:01     0:01:44     0:09:04     0:11:53     0:00:19     0:02:25
 Highest Daily Average Wait Time                                              1:28:40             1:39:44              0:53:11     0:53:28     0:59:54     0:52:52     0:56:01     1:09:35     1:20:04
 Min Wait Time                                                            0:00:00.049         0:00:00.091          0:00:00.091 0:00:00.101 0:00:00.053 0:00:00.110 0:00:00.042 0:00:00.042 0:00:00.054
 Max Wait Time                                                                6:04:29             6:03:52              4:08:49     4:57:59     5:51:23     3:57:18     3:51:54     4:15:02     4:59:29
Queue Deflections**                                                           39,321              30,950               13,254      16,399      17,492      17,416      15,494      18,764      21,380
Count of Customer Disconnects (Abandoned Calls)                               31,358              30,999               31,479      35,260      34,231      29,320      21,925      19,665      14,134
 Avg Time Until Customer Disconnect (h:mm:ss)                                 0:56:27             0:52:42              0:13:52     0:18:25     0:19:14     0:18:30     0:18:50     0:20:09     0:26:48
Accommodation Requests***
                  Tier 3 Metrics
Average Wait Time (hh:mm:ss)                                                  0:35:01             0:37:23              0:20:38     0:19:05     0:22:17     0:20:24     0:23:37     0:34:14     0:45:26
 Lowest Daily Avg Wait Time                                                   0:29:56             0:23:24              0:13:41     0:13:00     0:17:34     0:03:49     0:14:24     0:20:57     0:37:18
 Highest Daily Average Wait Time                                              0:43:05             0:51:22              0:28:58     0:31:24     0:32:12     0:29:03     0:36:38     0:52:06     1:05:08
 Min Wait Time                                                            0:00:00.053         0:00:00.047          0:00:00.044 0:00:00.050 0:00:00.005 0:00:00.053 0:00:00.044 0:00:00.053 0:00:00.061
 Max Wait Time                                                                3:28:51             5:12:17              2:14:05    23:02:26     2:14:34     2:11:52     2:29:19     3:12:47     4:57:35
Queue Deflections**                                                           42,057              49,920               11,191      10,358      10,736      17,328      14,057      46,433      72,199
Count of Customer Disconnects (Abandoned Calls)                               20,482              19,637               17,119      19,860      14,813      14,953      13,738      17,441      18,447
Avg Time Until Customer Disconnect                                            0:25:10             0:29:04              0:14:30     0:13:36     0:15:01     0:15:01     0:16:14     0:24:48     0:32:42
Accommodation Requests***


* SNAP applications may be rejected for multiple reasons. This count includes all applications that rejected for UCI (unable to complete interview) regardless of whether there were additional reasons the application would be rejected.

** A "deflection" is a call that did not make it into the queue because of wait time thresholds. An "abandoned call" is a caller that disconnected before reaching an agent.

*** Although many accommodations are made as part of our daily work, DSS does not currently track the number of accommodation requests made by SNAP applicants and participants at a systemic level. Accommodations are currently
recorded as notes in individual case files and cannot be pulled as a data element. Therefore, there is not a measurement DSS can accurately report for this metric at this time. DSS is determining how to best compile and report this
information and will provide updates on this metric as soon as they become available.

**** The "Max Wait Time" for August 2024 has been skewed and, while accurate, does not reflect the time in which an individual was waiting in a queue or on hold to speak with someone in our call center. A single call did not hang up and
remained open overnight in Tier 3. There were difficulties disconnecting the call that required IT assistance to resolve. No caller was left on hold for 23 hours.



                                                    Case 2:22-cv-04026-MDH                                      Document 210-1                           Filed 02/18/25                   Page 1 of 2
Call Deflections/Redirections by Date
Date           Tier 1 Deflections      Tier 3 Deflections
    1/1/2025                       0                           0
    1/2/2025                      15                        3489
    1/3/2025                     850                        2800
    1/4/2025                       0                           0
    1/5/2025                       0                           0
    1/6/2025                    1618                        3911
    1/7/2025                    1039                        3593
    1/8/2025                    1347                        3543
    1/9/2025                     964                        3614
   1/10/2025                    1053                        3984
   1/11/2025                       0                           0
   1/12/2025                       0                           0
   1/13/2025                    1986                        5391
   1/14/2025                     239                        4045
   1/15/2025                    1234                        3677
   1/16/2025                     967                        3171
   1/17/2025                     785                        2715
   1/18/2025                       0                           0
   1/19/2025                       0                           0
   1/20/2025                       0                           0
   1/21/2025                    1242                        2770
   1/22/2025                     718                        2384
   1/23/2025                     763                        2762
   1/24/2025                    1055                        3258
   1/25/2025                       0                           0
   1/26/2025                       0                           0
   1/27/2025                    1384                        3600
   1/28/2025                    1261                        3315
   1/29/2025                     867                        3034
   1/30/2025                    1026                        3320
   1/31/2025                     967                        3823




        Case 2:22-cv-04026-MDH               Document 210-1    Filed 02/18/25   Page 2 of 2
